        Case 5:07-cr-00063-GEC                      Document 792 Filed 09/28/15                          Page 1 ofCL1ERKSPageid#:
                                                                                                                          OFFICE U.S.DIST.O URT
                                                              3224                                                              AT ROANOG .VA
Ao 247(06/09-vAw)orderRegardingMotionfol.sentznceReductienPurtuantto18b'.s.c,j3582(c).(2). . . . . . u u u , . .                     FILED

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                                                                       forthe                                            :YJULI
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                                                             W estern DistrictofVirginia

                          UnitedStatesofAmerica                               )
                                    v.                                        ) CaseNo.: 5:07CR00063-0l8
                         JOSE LUIS JAIM E PEREZ                               ) USM No: 11398-265
                                                                              ) Christine M .Lee
       DateofPreviousJudgment:                 February 10,2012               ) Defendant'sAttorney
      (UseDateofLastAmendedludgmentVzlpplicable)                              1

                          OrderRegardingMotionforSentenceReductionPursuantto18U.S.C.j35824$(2)
                UponmotionofI-
                             d-
                              '!thedefendantF-ltheDirectoroftheBureauofPrisonsF-1thecourtunder18U.S.C.
       j35s2(c)(2)forareductioninthetenn ofimprisonmentimposedbased on aguidelinesentencing rangethathas
      subsequently been lowered and m ade retroactive by the United StatesSentencing Comm ission pursuantto 28 U.S.C.
      j994(u),andhavingconsideredsuchmotion,andtakingintoaccountthesentencing factorssetforthin 12U.S.C.j
      3553(a),to theextentthatthey areapplicable,
      IT IS O RDERED thatthe motion is:
              Z DENIED.             (7)GRANTEDandthedefendant'spreviouslyimposedsentenceofimprisonment(asre-jlectedin
                                    theIastjudgmentI'
                                                    swuc(# of                                 monthsisreducedto                           .

      1.COURT DETERM IN ATION O F G UIDELINE R ANG E (PriorrtlzfnyDepartures)
      PreviousOffense Level:                                 Amended Offense Level:
      Crim inalHistory Category:                             Crim inalH istory Category:
      PreviousGuideline Range:   to       months             Amended Guideline Range:                                      to          months


      II.SENTENCE RELATIV E TO AM ENDED G UIDELIN E RANG E
       EJ Thereducedsentenceiswithintheamendedguidelinerange.
       Z Thepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
           ofsentencing asaresultofa departure orRule35 reduction,and thereduced sentence iscom parably lessthan thc
           amended guideline range.
       Z Other(explain);




      111.ADDITIO NAL C OM M ENTS


           Sûe attached memorandum opinion.


      Exceptasprovidedaboveyallprovisionsofthejudgmentdated                       February 10,2012 shallremain ineffect.
      IT IS SO O RDERED.

      orderDate:            Ssp              e       z         Tatt
                                                                  )lG
                                                                                                      Judge%'slgnalure
     EffectiveDate:                                                                 Hon.G len E.Conrad,ChiefU.S.DistrictJudge
                               (fdtg renth-
                                          om orderdate)                                          f'
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